                       Case 4:15-cr-00164-KGB                  Document 160             Filed 09/08/16          Page 1 of 3
AO 245B (Rev. 10/15) Judgment in a Criminal Case
                     Sheet 1
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                                                                                                                       U.S. DISTRICT COUR
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                                         UNITED STATES DISTRICT COURT                                                     SEP 08 2016
                                                           Eastern District of Arkansas                      ~~~-~~~J1!5· CLERK
                                                                          )                                                                 DEPCLERK
               UNITED STATES OF AMERICA                                   )       JUDGMENT IN A CRIMINAL CASE
                                  v.                                      )
                HERIBERTO PEDRAZA-GARCIA                                  )
                                                                                  Case Number: 4:15-cr-00164-08 KGB
                                                                          )
                                                                          )       USM Number: 30402-009
                                                                          )
                                                                          )        LESLIE BORGOGNONI
                                                                          )       Defendant's Attorney
THE DEFENDANT:
Ill pleaded guilty to count(s)         1s of Misdemeanor Information

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended               Count
 8 U.S.C. § 1325(a)                 Illegal Entry, a Class B misdemeanor                                     11/5/2015                    1s




       The defendant is sentenced as provided in pages 2 through         __
                                                                          3 _ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
Ill Count(s)      1 and 4 of Indictment                 D is      Ill are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change ofname, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economic circumstances.

                                                                          9/7/2016
                                                                         Date oflmposition of Judgment




                                                                          Kristine G. Baker, United States District Judge
                                                                         Name and Title of Judge
                      Case 4:15-cr-00164-KGB               Document 160           Filed 09/08/16          Page 2 of 3
AO 245B (Rev. 10/15) Judgment m Criminal Case
                       Sheet 2 - Imprisonment

                                                                                                   Judgment -   Page -~2~_ of   3
 DEFENDANT: HERIBERTO PEDRAZA-GARCIA
 CASE NUMBER: 4:15-cr-00164-08 KGB

                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:
  Time served with no term of supervised release to follow. If the defendant is deported, he is reminded that he shall not
  illegally return to the United States.



     D The court makes the following recommendations to the Bureau of Prisons:




     D The defendant is remanded to the custody of the United States Marshal.

     D The defendant shall surrender to the United States Marshal for this district:
          D at                                  D a.m.       D p.m.      on

          D as notified by the United States Marshal.

     D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          D before 2 p.m. on
          D as notified by the United States Marshal.
          D as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




         Defendant delivered on                                                        to

 a - - - - - - - - - - - - - - - - , with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL




                                                                                            DEPUTY UNITED STATES MARSHAL
                       Case 4:15-cr-00164-KGB
AO 2458 (Rev. 10/15) Judgment in a Criminal Case
                                                                 Document 160               Filed 09/08/16            Page 3 of 3
        Sheet 6- Schedule of Payments
                                                                                                                 Judgment - Page             of
 DEFENDANT: HERIBERTO PEDRAZA-GARCIA
 CASE NUMBER: 4:15-cr-00164-08 KGB

                                                       SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A     '2j   Lump sum payment of$ -0.00
                                    ------
                                           due immediately, balance due

             D     not later than                                     , or
             D     in accordance         D C,        D D,        D     E, or     D F below; or
 B     D     Payment to begin immediately (may be combined with                D C,        D D, or       D F below); or
 C     D     Payment in equal                         (e.g., weekly, monthly, quarterly) installments of $                             over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after the date of this judgment; or

 D     D Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                            (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or

 E     D Payment during the term of supervised release will commence within                     (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     0     Special instructions regarding the payment of criminal monetary penalties:
             The mandatory special assessment is waived.




 Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
 imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




 D     Joint and Several

       Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
       and corresponding payee, if appropriate.




 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:




 Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
